                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

  In re: William Barrier Roberts                    Case No.: 18-83442-CRJ-7
         SSN: xxx-xx-9314

                Debtor.                              Chapter 7




              TRUSTEE'S REPLY TO MOTION TO COMPEL TURNOVER

        COMES NOW Tazewell T. Shepard III, trustee of the bankruptcy estate of the above-
 captioned Chapter 7 debtor (the “Trustee”), and replies to the Motion to Compel Turnover (the
 “Motion”) as follows:

        1.     For the avoidance of doubt, the Trustee seeks an order from this Court requiring
 Roscoe Owen Roberts (“Owen Roberts”) to turnover the following records, documents, and assets
 of William Barrier Roberts (the "Debtor") and transferred to the Patricia T. Roberts and Lee Ann
 Grote Roberts Inter Vivos Trust (the “Trust”):

               a.        An accounting of all funds that the Debtor transferred to Trust between
                         January 1, 2020 and the present;
               b.        An accounting of all expenses or other transfers of property from the Trust
                         to any beneficiaries or other parties between January 1, 2020 and the
                         present;
               c.        Copies of all Trust state and federal tax returns between January 1, 2020
                         and the present;
               d.        Copies of all records or documents used to create the above-requested
                         accountings and tax returns;
               e.        Turnover of all recordkeeping and documentation required by Owen
                         Roberts as trustee to maintain pursuant to Title 19 Fiduciaries and Trusts of
                         the Alabama Code; and
               f.        Turnover of all cash, securities, or other property, totaling at least
                         $692,652.10, and transferred by the Debtor to Owen Roberts as trustee fof
                         the Trust.




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        2.      These are not unusual or burdensome requests: pursuant to Ala. Code 19-3B-101 et
 seq., Owen Roberts, as a fiduciary, must maintain clear and complete records of the documents
 listed above in 1(a) – 1(e); a response that he has already turned over any records in his possession
 is insufficient because fiduciaries are held to a higher standard than mere witnesses or parties to a
 legal proceeding – trustees in Alabama must maintain clear and complete records of their trusts’
 assets, liabilities, income, and expenses. See Ala. Code 91-3B-802.

        3.      The Alabama Code places the burden on Owen Roberts, as the fiduciary, to produce
 these records concerning the Trust; it is not the a bankruptcy trustee’s obligation to recreate
 financial statements and accounting on his own when the law places that burden on another.

        4.      Both the Alabama Code and Title 11 of the United States Code provide potential
 remedies against Owen Roberts for any noncompliance with his fiduciary duties and obligation.
 However, the Trustee brings this present Motion in an attempt to conserve judicial resources and
 avoid protracted litigation in the hopes of a timely administration on the above-captioned
 bankruptcy estate.

        5.      While not directly relevant to the issue of turnover under 11 U.S.C. §§ 542 & 543,
 the Trustee has no reason to believe that he currently possesses sufficient funds on hand to pay all
 allowed administrative, priority, and general claims in full in the Debtor’s bankruptcy case.

        6.      Further, the Debtor’s speculation in an adversary proceeding that creditor First
 National Bank may withdraw its general unsecured claims from this case does not affect the
 Trustee’s analysis. Shepard v. Roberts, 21-80040-40-CRJ, ECF Doc. 7, ¶ 2. According to the Clerk
 of Court’s Claims Register, there are a total of 18 claims filed in this case for $11,604,081.68.
 Most of these claims remain partially or wholly unsatisfied.

        7.      Accordingly, the Trustee seeks the immediate turnover of all moneys, documents,
 and accountings listed in paragraph one, supra, without regard to any collateral issues concerning
 other creditors not party to this contested matter or their allowed claims.




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        WHEREFORE, premises considered, the Trustee prays that this Honorable Court will enter
 an Order:

        (i)     Requiring Owen Roberts, as trustee of the Trust, to provide a complete and detailed
                accounting of all property received and/or held by the Trust, and

        (ii)    Requiring Owen Roberts, as trustee of the Trust, to turnover physical possession
                to the Trustee of all financial records and all assets the Debtor transferred to the
                Trust from the commencement of the Debtor's Chapter 11 bankruptcy case until the
                present; and

        (iii)   Granting such further relief as this Court deems just and proper.

        Respectfully submitted this the 14th day of April, 2021.

                                              /s/ Tazewell T. Shepard IV
                                              Kevin M. Morris
                                              Tazewell T. Shepard IV
                                              Attorneys to Chapter 7 Trustee
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                                 CERTIFICATE OF SERVICE

        This is to certify that I have this the 14th day of April, 2021 served the foregoing document
 upon Kevin D. Heard, Attorney for Owen Roberts, Stuart M. Maples, Attorney for William Barrier
 Roberts, and all parties requesting notice, by electronic service through the Court’s CM/ECF
 system and/or by placing a copy of the same in the U. S. Mail, postage prepaid.

                                              /s/ Tazewell T. Shepard IV
                                              Tazewell T. Shepard IV




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